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PETERA.MOORfil,JR.,et.eRK         UNITED STATES DISTRICT COURT
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            ANDREW U. D. STRAW,                    )        Case No.: 7: IS'- C..,'\/--i   Y- D
               Plaintiff,                          )
                                                   )        Judge Presiding
            v.                                     )
                                   ,               )        Hon.
            STATE OF NORTH CAROLINA,)                       Magistrate Judge
                Defendants.         )
                                    )                       Jury Trial Demanded

                                               COl\fi>LAINT

            Now comes plaintiff Andrew U. D. Straw,                   pro
                                                                    se, an adjudicated
            "qualified person with a disability" under the ADA, and seek ADA Title
            II relief against State of North Carolina for enacting laws that
            discriminate based on disability and interfere with military families and
            their relief from the Camp LeJeune poisons, violating Articles I and II of
            the U.S. Constitution, justifying relief under the 14th Amendment, and so
            COMPLAIN:

                                         BACKGROUND FACTS

            1.      I was born at Camp LeJeune, NC, on March 19, 1969 and was

            poisoned by the base.

            2.      I incorporate by reference the attached affidavit and all matters

            referenced therein as incorporated. This indudes both the factual and

            legal grounds for relief. I also incorporate by reference the two exhibits

            showing         my   neurobehavioral       effects   as   mentioned   by   medical

            professionals.


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                 LEGAL ARGUMENTS & STANDING

3.   The ADA, Title II prevails over State law and if North Carolina had

excluded the military base at Camp LeJeune from its statutes of repose

and limitations, military families stationed at the base would not have to

deal with those laws as impediments to their federal relief.         They

discriminate by inflicting poverty and suffering on people who were

disabled permanently by the U.S. Marine Corps.

     II-1.4200 Other Federal and State laws. Title II does not disturb
     other Federal laws or any State laws that provide protection for
     individuals with disabilities at a level greater or equal to that
     provided by the ADA. It does, however, prevail over any conflicting
     State laws.
     https://www.ada.gov/taman2.html#II-1.4200

4.   I am narrowing down my attack to focus on these NC laws and not

on any lawsuit. This is the way to cure the Rooker-Feldman issue, if

there is one. Sykes v. Cook Cnty. Cir. Ct. Prob. Div., 837 F.3d 736 (7th

Cir. 2016) explains how attacking statutes avoids any such issues.

5.   The State of North Carolina is a covered entity under ADA Title II,

42 U.S.C. § 12202. There is no immunity from the ADA and the State of

North Carolina must not assert any such claim.




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6.    http://www.ada.gov/reg2.htm explains how incredibly broad 28

C.F.R. § 35.134 protections are against retaliation. To the extent that

North Carolina was retaliating, I invoke this law and Title V of the ADA.

7.    Because these North Carolina laws have violated the ADA Titles II

and V for approaching 28 years, and the Rehab Act, I now seek damages

under Barnes v. Gorman, 536 U.S. 181 (2002).

8.    Because these North Carolina laws have interfered with a military

base and its personnel, this violates Articles I and II of the Constitution,

which give Congress and the president exclusive power over such

military installations and the Marines and their families who serve

there. The relief I seek for my personal damages from these violations is

the 14th Amendment due process clause, including substantive due

process because no state should cause military families such suffering

and the inability to get monetary compensation as Congress has provided

under the 5th Amendment (Bivens) and the FTCA. These laws violating

the constitutional framework have caused injury to me and my family

and                            numerous                               others.




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                                 STANDING

9.    The U.S. Supreme Court has laid out the requirements for standing

in a civil rights act case.   Trafficante v. Metropolitan Life Insurance

Company, 409 U.S. 205 (1972). This Civil Rights Act of 1968 case shows

that Article III standing can be created through Congress passing a civil

rights act (like the ADA) that gives a particular group the right to sue,

and violation of the terms of the Act is all the injury an "aggrieved party"

needs to show.

10.   The Fiedler case from Maine showed that Trafficante's 9-0

reasoning applies in the case of the ADA. Fiedler v. Ocean Properties

Ltd., 683 F. Supp. 57 (D. Maine 2010).

11.   The Trafficante rule that Congress can confer standing in this

manner was mentioned positively 20 years later in Lujan v. Defenders of

Wildlife, 504 U.S. 555 (1992).

12.   In addition, the 14th Amendment applies to North Carolina and

when that State violates the terms of that amendment, it must pay.

                                 DAMAGES

13.   I have the right to compensatory damages under the ADA, Title II,

and the Rehab Act per Barnes v. Gorman, 536 U.S. 181 (2002) and the


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failure to adjust the North Carolina statute of repose and statute of

limitations has caused injury that justifies damages because those state

laws are in direct conflict with federal law and the U.S. Constitution

itself, as explained in the affidavit.

14.   My compensatory damages are both from the ADA and Rehab Act

as well as the 14th Amendment, and the punitive damages come from

violating Articles I and II of the U.S. Constitution, with the damages

through the 14th Amendment.         This makes special sense because the

rebellion and interference of states such as North Carolina against the

federal government, and in particular a U.S. military installation (Ft.

Sumpter), led directly to the Civil War and then enactment of the 14th

Amendment.

             COUNT I: DISCRIMINATION/RETALIATION

15.   I have one count for discrimination and this should be the ADA and

the Rehab Act of 1973 overcoming the disability discrimination effects of

the North Carolina statute of repose and statute of limitations. The

damages from this are explained above and in the affidavit attached.




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      COUNT II: NORTH CAROLINA VIOLATED FEDERAL POWER

                   OVER l\fiIJTARY INSTALLATIONS

16.    For the reasons explained in the affidavit and above, the State of

North Carolina has with its statute of repose and statute of limitations

caused injury to me by preventing me from getting the relief promised by

Congress in the 5th Amendment (Bivens) and the FTCA. To even have a

statute of limitations or repose that inflicts injury on military personnel,

especially U.S. Marine Corps families that served in Vietnam, violates

exclusive power of Congress (Article I) and the president (Article II) over

military installations and personnel. North Carolina knew exactly what

it was doing by not creating any exceptions for the military families

serving at Camp LeJeune. The 14th Amendment was passed because

states were violating federal military installations, causing a Civil War.

Now, North Carolina has reached into Camp LeJeune and dictated

through its laws that poisoned families will not be compensated for their

suffering. The state must pay for this.

                          PRAYER FOR RELIEF

17.    I demand $1,000,000 under Barnes v. Gorman, 536 U.S. 181 (2002) .

for the disability discrimination aspect of the state laws I challenge.


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18.   I demand $9,000,000 for the violations of Articles I & II of the U.S.

Constitution, to be compensated under the 14th Amendment substantive

due process and/or procedural due process.       My liberties have been

severely curtailed by the disabilities caused to me by this base. I should

have had relief, but for North Carolina interfering with a federal

installation and federal personnel and their federal families.

19.   I also seek a declaratory judgment that the ADA, Rehab Act, and

the U.S. Constitution (Articles I & II, 14th Amendment) nullify the North

Carolina state laws at issue here such that they never existed with

respect to Camp LeJ eune or any other military base or installation, and

cannot for these reasons be used to injure any person disabled by the

poisons on a military base.

                     JURISDICTION AND VENUE

20.   This Court has jurisdiction over this action under 28 U.S.C. § 1331,

as it contains federal questions based on the Americans with Disabilities

Act, Titles II & V, and the ADA regulations, the Rehab Act of 1973,

Articles I & II of the U.S. Constitution as well as the 14th Amendment.

Bell v. Hood, 327 U.S. 678 (1946) provides jurisdiction when the




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Constitution is the grounds for relief.    Marbury v. Madison justifies

challenging a state law with a federal law or the U.S. Constitution.

21.   Venue properly lies in the Eastern District of North Carolina under

28 U.S.C. §139l(b), as a substantial part of the events giving rise to this

action occurred within this district and the whole state, in the State of

North Carolina.

I, plaintiffAndrew U. D. Straw, verify that to the best of my knowledge,
information, and belief, formed after an inquiry reasonable under the
circumstances, that the above statements and factual representations
are true and correct under penalty of perjury. Dated: May 2, 2018

Respectfully submitted,

sf ANDREW U. D. STRAW

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andrew@andrewstraw.com




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                    CERTIFICATE OF SERVICE

I, plaintiff Andrew U. D. Straw, certify that I filed the above
COMPLAINT with the Clerk of this Court via U.S. Mail, postage prepaid
on May 2, 2018. The Clerk will scan this document and file it in the
Court's record, and it will be served by the CM/ECF system to all
attorneys of record and the Pacer.gov system will make it available to
any member of the public.

Respectfully submitted,

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